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                     IN THE UNITED STATES DISTRICT COURT
            FOR THE EASTERN DISTRICT OF TEXAS, BEAUMONT DIVISION


COALITION FOR WORKFORCE )
INNOVATION, ET AL.,        )
                           )
      PLAINTIFFS           )
                           )                        Case No. 1:21-cv-00130-MAC
v.                         )
                           )
JULIE SU, ET AL.,          )
                           )
      DEFENDANTS           )
__________________________ )




                    PLAINTIFFS’ RESPONSE TO DEFENDANTS’
                  STATEMENT OF UNDISPUTED MATERIAL FACTS

       Pursuant to Local Rule CV-56(b), Plaintiffs hereby respond to Defendants’ Statement of

Undisputed Material Facts.

       1.     Congress enacted the FLSA in 1938 to eliminate “labor conditions detrimental to

the maintenance of the minimum standard of living necessary for health, efficiency, and general

well-being of workers.” 29 U.S.C. § 202; Parrish v. Premier Directional Drilling, L.P., 917 F.3d

369, 378 (5th Cir. 2019); see Mr. W, 814 F.2d at 1043 (“Congress passed the FLSA in order to

palliate the grave economic ills then ailing our nation.”); Usery v. Pilgrim Equip. Co., 527 F.2d

1308, 1310-11 (5th Cir. 1976) (“The purpose of the FLSA is to ‘eliminate low wages and long

hours’ and ‘free commerce from the interferences arising from production of goods under

conditions that were detrimental to the health and well-being of workers.’”) (quoting Rutherford

Food Corp. v. McComb, 331 U.S. 722, 727 (1947)). The FLSA requires covered employers to pay
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nonexempt employees at least the federal minimum wage and 1.5 times the employee’s regular

rate for hours worked in excess of 40 hours in a workweek. 29 U.S.C. §§ 206(a) & 207(a).

       RESPONSE: To the extent this is a statement of law, no response is required. In addition,

       the Fair Labor Standards Act (FLSA) and the cases speak for themselves. To the extent a

       response is required, it is undisputed that under the FLSA, covered employers must pay

       nonexempt employees a minimum wage and overtime pay at 1.5 times the employee’s

       regular rate for hours worked in excess of 40 hours in a workweek.



       2.      The Act generally defines an employee as “any individual employed by an

employer,” 29 U.S.C. § 203(e)(1), an employer as “any person acting directly or indirectly in the

interest of an employer in relation to an employee,” id. at § 203(d), and to “employ” as including

“to suffer or permit to work,” id. at § 203(g). The FLSA does not define independent contractor;

they are outside the Act’s broad scope of workers covered as employees. Rutherford, 331 U.S. at

729.

       RESPONSE: To the extent this is a statement of law, no response is required. In addition,

       the Fair Labor Standards Act (FLSA) and the cited case speak for themselves. To the extent

       a response is required, Plaintiffs dispute Defendants’ characterization of the scope of the

       FLSA.



       3.      Since the 1940s, courts have applied an “economic reality” analysis, grounded in

the FLSA’s broad understanding of employment, to determine whether a worker is an employee

or an independent contractor under the Act. 89 Fed. Reg. 1638, 1641-42 (citing Rutherford, 331

U.S. 722 (1947) and discussing U.S. v. Silk, 331 U.S. 704 (1947); Bartels v. Birmingham, 332 U.S.
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126 (1947)). The analysis looks at whether, as a matter of economic reality, the worker is

economically dependent on the employer for work (and is thus an employee) or is in business for

herself (and is thus an independent contractor), rather than simply whether the employer has

control over the worker under the narrower standards of the common law. 89 Fed. Reg. 1638,

1641. In assessing economic dependence, courts have historically conducted a totality-of-the-

circumstances analysis and considered multiple factors, with no one factor or factors having

predetermined weight. Id. at 1638, 1641-44. These factors generally include the opportunity for

profit or loss, investment, permanency, control, whether the work is an integral part of the

employer’s business, and skill and initiative. Id. at 1638, 1641-43.

        RESPONSE: To the extent this is a statement of law, no response is required. In addition,

        the FLSA and the cases speak for themselves. To the extent a response is required,

        Plaintiffs dispute Defendants’ characterization of the scope of the FLSA.



        4.      Specifically, in Silk, the Supreme Court identified five factors as “important” for

distinguishing between employees and independent contractors: “degrees of control, opportunities

for profit or loss, investment in facilities, permanency of relation[,] and skill required in the

claimed independent operation.” 89 Fed. Reg. 1641 (quoting Silk, 331 U.S. at 716). However, the

Court explained that no single factor is dispositive, nor are the listed factors exhaustive. Id. (citing

Silk, 331 U.S. at 716 (stating that “[n]o one is controlling nor is the list complete”)). On the same

day that the Supreme Court decided Silk, it also decided Rutherford, in which it affirmed a federal

court of appeals decision that analyzed an FLSA employment relationship based on economic

realities. Id. (citing Rutherford, 331 U.S. at 727). In Rutherford, the Court considered several of

the Silk factors and also noted that the workers in question were best characterized as “part of the
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integrated unit of production under such circumstances that the workers performing the task were

employees.” Id. (quoting Rutherford, 331 U.S. at 729-30).

       RESPONSE: To the extent this is a statement of law, no response is required, and the cases

       speak for themselves.



       5.      Consistent with Silk, Rutherford, and their progeny, all federal courts of appeals

apply the totality-of-the-circumstances economic reality analysis, using the factors articulated in

those cases while acknowledging that they are not exhaustive and should not be applied

mechanically. 89 Fed. Reg. 1642 & nn.52-53 (listing cases). No federal court of appeals has

invariably allowed any factor presumptively to predominate over others. Id. at 1642 n.53 (listing

cases). For example, in Parrish, the Fifth Circuit determined whether there existed an employer-

employee relationship by examining “whether the alleged employees, as a matter of ‘economic

reality,’ are ‘economically dependent’ on the business to which they supply their labor and

services.” 917 F.3d at 379 (quoting Mr. W, 814 F.2d at 1043).

       RESPONSE: To the extent this is a statement of law, no response is required, and the cases

       speak for themselves. To the extent a response is required, Plaintiffs dispute Defendants’

       characterization of the caselaw and how “all federal courts of appeals” have applied the

       economic reality test.



       6.      The Fifth Circuit applies the “five, non-exhaustive [Silk] factors” relevant “to

determin[ing] whether the individual is, as a matter of economic reality, in business for himself.”

Parrish, 917 F.3d at 379. The factors are: (1) the degree of control exercised by the alleged

employer; (2) the extent of the relative investments of the worker and the alleged employer; (3)
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the degree to which the worker’s opportunity for profit or loss is determined by the alleged

employer; (4) the skill and initiative required in performing the job; and (5) the permanency of the

relationship. 89 Fed. Reg. 1642 n.53 (citing Parrish, 917 F.3d at 380); see also 89 Fed. Reg. 1642

& n.52 (citing Brock v. Superior Care, Inc., 840 F.2d 1054, 1058-59 (2d Cir. 1988); Pilgrim

Equip., 527 F.2d at 1311). The Fifth Circuit applies these factors to “guide” its inquiry, noting that

“[n]o single factor is determinative,” and “the factors should not ‘be applied mechanically.’”

Parrish, 917 F.3d at 379-80.

       RESPONSE: To the extent this is a statement of law, no response is required. The cases

       and their application by the Fifth Circuit speak for themselves.



       7.      The Fifth Circuit typically does not identify the “integral part” factor as one of the

considerations that guides its analysis. 89 Fed. Reg. 1642 (citing Pilgrim Equip., 527 F.2d at 1311).

However, recognizing that its list of enumerated factors is not exhaustive, the Fifth Circuit has in

some cases considered the extent to which a worker’s function is integral to the business when

conducting its economic reality analysis. See, e.g., Hobbs v. Petroplex Pipe & Constr., Inc., 946

F.3d 824, 836 (5th Cir. 2020) (considering “the extent to which the pipe welders’ work was ‘an

integral part’ of Petroplex’s business”), cited in 89 Fed. Reg. 1642. And every other federal court

of appeals that has decided an FLSA case involving workers who are employees or independent

contractors includes the “integral part” factor among the list of enumerated economic reality

factors. 89 Fed. Reg. 1642 & n.57 (citing id. at 1642 & n.52 and certain cases cited therein).

       RESPONSE: To the extent this is a statement of law, no response is required. The cases

       and their application by the Fifth Circuit and other federal courts of appeals speak for

       themselves. To the extent a response is required, Plaintiffs dispute Defendants’
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       characterization of the caselaw and how the Fifth Circuit and “every … federal court of

       appeals” has applied the economic reality test.



       8.      In the years since the Supreme Court set forth these principles, the Court has

steadfastly rejected common law control 1 as the determining factor under the FLSA and has

remained committed to determining employment under the FLSA holistically by analyzing the

economic realities of the working relationship. 2

       RESPONSE: To the extent this is a statement of law, no response is required. To the extent

       a response is required, Plaintiffs dispute Defendants’ characterization of the caselaw,

       including disputed that the Supreme Court has “steadfastly rejected common law control

       as the determining factor under the FLSA.”



       9.      In 1949, DOL first issued an opinion letter “distilling six ‘primary factors which

the Court considered significant’ in Rutherford and Silk,” emphasizing that “no single factor is

controlling” in determining whether an employment relationship exists under the FLSA. 89 Fed.




1
  When distinguishing between employees and independent contractors under the common law,
courts evaluate “the hiring party’s right to control the manner and means by which the product is
accomplished.” 89 Fed. Reg. 1641 & n.29 (quoting Comty. for Creative Nonviolence v. Reid, 490
U.S. 730, 751 (1989)). Unlike the common law’s control-focused analysis, the economic reality
test under the FLSA focuses more broadly on a worker’s economic dependence on an employer
for work. 89 Fed. Reg. 1641; see Castillo v. Givens, 704 F.2d 181, 189 (5th Cir. 1983) (“[T]he
common-law control test is not conclusive,” and “[t]he statutory coverage is not limited to those
persons whose services are subject to the direction and control of their employer, but rather to
those who, as a matter of economic reality, are dependent upon the business to which they render
service.”).
2
  89 Fed. Reg. 1642 (citing Goldberg v. Whitaker House Co-op, Inc., 366 U.S. 28, 33 (1961)
(economic reality is the test of employment under the FLSA) (citing Silk and Rutherford));
Nationwide Mut. Ins. Co. v. Darden, 503 U.S. 318, 325-26 (1992) (FLSA defines employee to
cover some parties who might not qualify as such under the common law) (citing Rutherford)).
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Reg. at 1643. In the decades since, DOL has generally applied a similar multifactor economic

reality analysis, following legal precedent and the guiding principles announced therein not to

apply factors mechanically or assign any factor a predetermined weight. See id. 1642-44

(discussing various Department guidance documents).

       RESPONSE: To the extent this is a statement of law, no response is required. The

       Department’s opinion letter and the application of the economic reality analysis by the

       Department speak for themselves. To the extent a response is required, Plaintiffs dispute

       that the Department’s cited guidance documents all “follow[ed] legal precedent and the

       guiding principles announced therein.”



       10.     On January 7, 2021, DOL published the 2021 Rule with an effective date of March

8, 2021. See 89 Fed. Reg. at 1639; 86 Fed. Reg. at 1168. The 2021 Rule added a new part to Title

29 of the Code of Federal Regulations (Part 795), introducing new generally applicable regulations

regarding whether a worker is an employee or an independent contractor. Id. at 1638-39, 1727.

Although the rule reiterated the longstanding principle that a worker is an employee if, as a matter

of economic reality, the worker is economically dependent on the employer for work, id. at 1644,

the rule made significant changes to how the analysis is applied, id. at 1638-45.

       RESPONSE: To the extent this is a statement of law, no response is required. In addition,

       the 2021 Rule speaks for itself. To the extent a response is required, it is undisputed that

       the Department published the 2021 Rule on January 7, 2021. See “Independent Contractor

       Status Under the Fair Labor Standards Act,” 86 Fed. Reg. 1246 (Jan. 7, 2021); that its

       effective date was March 8, 2021; and that the 2021 Rule added a new part to Tile 29 of
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       the Code of Federal Regulations (Part 795). Plaintiffs dispute that the 2021 Rule made any

       significant changes to how the independent contractor analysis has been applied.



       11.     DOL and most courts have applied the six economic reality factors that the Court

considered significant in Rutherford and Silk to determine whether a worker is an employee under

the FLSA or an independent contractor. 89 Fed. Reg. 1641-44 (discussing case law and

Department guidance). The 2021 Rule, on the other hand, applied five economic reality factors in

a novel fashion. In contrast to DOL’s prior guidance and contrary to case law, the 2021 Rule

designated two of the five factors as “core factors” that should always carry greater weight in the

analysis, meaning that, if they both indicated the same classification, there was a “substantial

likelihood” that that classification was the correct classification. 89 Fed. Reg. 1638; see 29 C.F.R.

§ 795.105(c), quoted in 86 Fed. Reg. 1246.

       RESPONSE: To the extent this is a statement of law, no response is required. To the extent

       a response is required, the 2021 Rule and factors purportedly applied by the Department

       and “most courts” speak for themselves. Plaintiffs dispute that the 2021 Rule adopted a

       “novel” application of the factors.



       12.     The two core factors were: (1) the nature and degree of control over the work, and

(2) the worker’s opportunity for profit or loss (which included the workers’ initiative and

investments). 89 Fed. Reg. 1644. The three remaining, “less probative” factors were: (3) the

amount of skill required for the work, (4) the degree of permanence of the working relationship

between the worker and the employer, and (5) whether the work is part of an integrated unit of

production. Id. at 1645; 86 Fed. Reg. 1171. Under the 2021 Rule, these other factors were “less
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probative and, in some cases, may not be probative at all” of economic dependence and were

“‘highly unlikely, either individually or collectively, to outweigh the combined probative value of

the two core factors.’” 89 Fed. Reg. 1645. The 2021 Rule also considered investment and initiative

only as part of the opportunity for profit or loss factor, and excluded consideration of whether the

work performed is central or important to the potential employer’s business. These and other

provisions in the 2021 IC Rule narrowed the economic reality test by limiting the facts that may

be considered as part of the test—facts which DOL believes are relevant in determining whether a

worker is economically dependent on the employer or is in business for herself. Id. at 1647.

       RESPONSE: To the extent this is a statement of law, no response is required. In addition,

       the 2021 Rule speaks for itself. To the extent a response is required, Plaintiffs dispute

       Defendants’ characterization of the 2021 Rule as “narrow[ing]” or “limiting” the

       independent contractor analysis.



       13.     Shortly after the change in Administration in 2021, DOL first delayed and then

withdrew the 2021 Rule. See 86 Fed. Reg. 12535 (Mar. 4, 2021) (the Delay Rule); 86 Fed. Reg.

24303 (May 6, 2021) (the Withdrawal Rule). Both the Delay Rule and the Withdrawal Rule were

challenged. See Coalition for Workforce Innovation v. Walsh, No. 1:21-cv-130, 2022 WL 1073346

(E.D. Tex. Mar. 14, 2022) (“CWI”). This Court held that the Delay and Withdrawal Rules violated

certain provisions of the APA and vacated both. See id. DOL appealed, and the Fifth Circuit

ultimately vacated this Court’s decision as moot after DOL promulgated the 2024 Rule. See Order,

CWI, No. 22-40316 (5th Cir. Feb. 19, 2024), ECF No. 82. The case was then remanded to allow

plaintiffs to file the now operative Second Amended Complaint (“Compl.”).
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         RESPONSE: To the extent this is a statement of law, no response is required, and the

         decisions of this Court and the Fifth Circuit speak for themselves.



         14.    On October 13, 2022, DOL published in the Federal Register a new proposed rule

 for public comment. 3 After receiving and considering over 55,000 comments on the proposed rule,

 on January 10, 2024, DOL promulgated the 2024 Rule, which became effective on March 11,

 2024.

         RESPONSE: To the extent this is a statement of law, no response is required. To the extent

         a response is required, Plaintiffs state that they have no independent knowledge as to how

         many comments were received by the Department or the Department’s actions with respect

         to those comments, and Plaintiffs dispute that the department adequately considered all of

         the comments it received.



         15.    The 2024 Rule rescinds the 2021 Rule and separately replaces it with an

 interpretation that is more consistent with judicial precedent and the Act’s text and purpose as

 interpreted by the courts. 89 Fed. Reg. 1638, 1647; see 29 C.F.R. Part 795. Specifically, the 2024

 Rule embodies a totality-of-the-circumstances economic reality analysis in which the factors do

 not have predetermined weight. 89 Fed. Reg. 1645. Those factors include: (1) the worker’s

 opportunity for profit or loss depending on managerial skill; (2) investments by the worker and the

 potential employer; (3) degree of permanence of the work relationship; (4) nature and degree of




 3
  See Employee or Independent Contractor Classification Under the Fair Labor Standards Act,
 87 Fed. Reg. 62,218 (Oct. 13, 2022), available at https://www.govinfo.gov/content/pkg/FR-
 2022-10-13/pdf/2022-21454.pdf.
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 control; (5) extent to which the work performed is an integral part of the potential employer’s

 business; and (6) the worker’s skill and initiative. 29 C.F.R. §§ 795.110(b)(1)-(6).

        RESPONSE: To the extent this is a statement of law, no response is required, and the 2024

        Rule speaks for itself. To the extent a response is required, Plaintiffs dispute Defendants’

        characterization of the 2024 Rule as “more consistent with judicial precedent and the Act’s

        text and purpose as interpreted by the courts.”



        16.     The preamble to the 2024 Rule also provides a detailed discussion of the application

 of each factor to serve as a guide for determining whether a worker is an employee. See 89 Fed.

 Reg. 1671-1725. However, the 2024 Rule expressly emphasizes that it consists solely of “general

 interpretations” and is “intended to serve as a ‘practical guide to employers and employees’ as to

 how DOL will seek to apply the Act.” 29 C.F.R. § 795.100.

        RESPONSE: To the extent this is a statement of law, no response is required, and the 2024

        Rule speaks for itself. To the extent a response is required, Plaintiffs dispute Defendants’

        characterization of the Rule.



        17.      Plaintiffs filed their Second Amended Complaint (ECF No. 40) on March 5, 2024,

 alleging that: (1) the withdrawal of the 2021 Rule is arbitrary and capricious, Compl. ¶¶ 60-75; (2)

 the 2024 Rule is arbitrary and capricious, an abuse of discretion, and contrary to law, id. ¶¶ 76-92;

 and (3) the 2024 Rule’s failure to consider costs and benefits is arbitrary and capricious, id. ¶¶ 93-

 106. Plaintiffs seek a declaration that the 2024 Rule violates the APA, FLSA, and Regulatory

 Flexibility Act. Id. ¶ 109. They further ask the Court to set aside the 2024 Rule and its rescission

 of the 2021 Rule, to declare that the 2021 Rule remains in effect as of March 8, 2021, and to enjoin
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 enforcement of the 2024 Rule. In their motion for summary judgment, plaintiffs also ask for

 vacatur of the 2024 Rule. See Plaintiffs’ Motion for Summary Judgment and Brief in Support (“Pl.

 Br.”) (ECF No. 52) at 37. 4

           RESPONSE: Plaintiffs’ Second Amendment Complaint and Motion for Summary

           Judgment and Brief in Support speaks for themselves.




 4
     Citations are to the ECF pagination of plaintiffs’ brief.
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                                    Respectfully submitted,

 Date: June 14, 2024

                                    /s/ Robert F. Friedman
                                    Robert F. Friedman
                                    LITTLER MENDELSON, P.C.
                                    2001 Ross Avenue, Suite 1500
                                    Dallas, TX 75201
                                    (214) 880-8100
                                    (214) 880-8101 (Fax)
                                    rfriedman@littler.com

                                    Maurice Baskin (pro hac vice)
                                    James A. Paretti, Jr. (pro hac vice)
                                    LITTLER MENDELSON, P.C.
                                    815 Connecticut Ave., N.W.
                                    Washington, D.C. 20006
                                    (202) 772-2526
                                    mbaskin@littler.com
                                    jparetti@littler.com

                                    ATTORNEYS FOR ALL PLAINTIFFS


                                    Eugene Scalia (pro hac vice)
                                    Jason J. Mendro (pro hac vice)
                                    Andrew G.I. Kilberg (pro hac vice)
                                    GIBSON, DUNN & CRUTCHER LLP
                                    1050 Connecticut Ave., N.W.
                                    Washington, D.C. 20036
                                    (202) 955-8500
                                    escalia@gibsondunn.com
                                    jmendro@gibsondunn.com
                                    akilberg@gibsondunn.com

                                    ATTORNEYS FOR PLAINTIFF
                                    FINANCIAL SERVICES INSTITUTE, INC.
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                                    Stephanie A. Maloney (pro hac vice)
                                    Jordan L. Von Bokern (pro hac vice)
                                    U.S. Chamber Litigation Center
                                    1615 H Street, N.W.
                                    Washington, DC 20062-2000
                                    (202) 463-5337
                                    smaloney@uschamber.com
                                    jvonbokern@uschamber.com

                                    ATTORNEYS FOR PLAINTIFF CHAMBER OF
                                    COMMERCE OF THE UNITED STATES OF
                                    AMERICA
